Case 1:14-cv-00377-LPS Document 641 Filed 07/31/17 Page 1 of 30 PageID #: 41711




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

INTEL CORPORATION,
                                                                          UNSEALED ON
              Plaintiff,                                                  AUGUST 3, 2017

       v.                                           C.A. No. 14-377-LPS

FUTURE LINK SYSTEMS, LLC,

              Defendant.


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                                 MEMORANDUM OPINION


July 31, 2017
Wilmington, Delaware
Case 1:14-cv-00377-LPS Document 641 Filed 07/31/17 Page 2 of 30 PageID #: 41712




        Pending before the Court are four summary judgment and Daubert motions: (1) Future

 Link Systems, Inc. 's ("Defendant," "FLS," or "Future Link") motion for summary judgment (D.I.

 520); (2) Intel Corporation's ("Plaintiff' or "Intel") motion for summary judgment that U.S.

 Patent No. 7,478,302 is indefinite and that Intel does not infringe U.S. Patent Nos. 5,754,867;

 6,052,754; 6,317,804; and 5,870,570 (D.I. 522); (3) Future Link's motion to preclude expert

 testimony1 (D.I. 526); and (4) Intel's motion for summary judgment of no willfulness and no

 unclean hands (D.I. 531).

        For the reasons discussed below, the court will grant in part and deny in part Future

 Link's motion for summary judgment (D.I. 520); deny Intel's motion for summary judgment on

 indefiniteness and non-infringement (D.I. 522); grant in part and deny in part Future Link's

 motion to preclude expert testimony (D.I. 526); and grant in part and deny in part Intel's motion

 for summary judgment of no willfulness and no unclean hands (D.I. 531 ).

 I.     LEGAL STANDARDS

        A.      Summary Judgment

        Pursuant to Rule 56( a) of the Federal Rules of Civil Procedure, "[t ]he court shall grant

 summary judgment if the movant shows that there is no genuine dispute as to any material fact

 and the movant is entitled to judgment as a matter of law." The moving party bears the burden of

 demonstrating the absence of a genuine issue of material fact. See Matsushita Elec. Indus. Co.,

 Ltd. v. Zenith Radio Corp., 475 U.S. 574, 585-86 (1986). An assertion that a fact cannot be - or,


 1
  A prior Memorandum Opinion (D.I. 618) addressed the portions of Future Link's motion to
 preclude expert testimony related to Intel experts Drs. Gregory Leonard and Douglas Clark. This
 Memorandum Opinion will address the remaining portions of Future Link's motion.

                                                  1
Case 1:14-cv-00377-LPS Document 641 Filed 07/31/17 Page 3 of 30 PageID #: 41713




 alternatively, is - genuinely disputed must be supported either by citing to "particular parts of

 materials in the record, including depositions, documents, electronically stored information,

 affidavits or declarations, stipulations (including those made for purposes of the motion only),

 admissions, interrogatory answers, or other materials," or by "showing that the materials cited do

 not establish the absence or presence of a genuine dispute, or that an adverse party cannot

 produce admissible evidence to support the fact." Fed. R. Civ. P. 56(c)(l)(A) & (B). If the

 moving party has carried its burden, the nonmovant must then "come forward with specific facts

 showing that there is a genuine issue for trial." Matsushita, 475 U.S. at 587 (internal quotation

 marks omitted). The Court will "draw all reasonable inferences in favor of the nonmoving party,

 and it may not make credibility determinations or weigh the evidence." Reeves v. Sanderson

 Plumbing Prods., Inc., 530 U.S. 133, 150 (2000).

        To defeat a motion for summary judgment, the nonmoving party must "do more than

 simply show that there is some metaphysical doubt as to the material facts." Matsushita, 475

 U.S. at 586; see also Podobnik v. US. Postal Serv., 409 F.3d 584, 594 (3d Cir. 2005) (stating

 party opposing summary judgment "must present more than just bare assertions, conclusory

 allegations or suspicions to show the existence of a genuine issue") (internal quotation marks

 omitted). The "mere existence of some alleged factual dispute between the parties will not defeat

 an otherwise properly supported motion for summary judgment;" a factual dispute is genuine

 only where ''the evidence is such that a reasonable jury could return a verdict for the nonmoving

 party." Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986). "If the evidence is merely

 colorable, or is not significantly probative, summary judgment may be granted." Id. at 249-50

 (internal citations omitted); see also Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986) (stating


                                                   2
Case 1:14-cv-00377-LPS Document 641 Filed 07/31/17 Page 4 of 30 PageID #: 41714




 entry of summary judgment is mandated "against a party who fails to make a showing sufficient

 to establish the existence of an element essential to that party's case, and on which that party will

 bear the burden of proof at trial"). Thus, the "mere existence of a scintilla of evidence" in

 support of the nonmoving party's position is insufficient to defeat a motion for summary

 judgment; there must be "evidence on which the jury could reasonably find" for the nonmoving

 party. Anderson, 477 U.S. at 252.

        B.      Expert Testimony

        In Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579, 597 (1993), the

 Supreme Court explained that Federal Rule of Evidence 702 creates "a gatekeeping role for the

 [trial] judge" in order to "ensur[e] that an expert's testimony both rests on a reliable foundation

 and is relevant to the task at hand." Rule 702(a) requires that expert testimony "help the trier of

 fact to understand the evidence or to determine a fact in issue." Expert testimony is admissible

 only if "the testimony is based on sufficient facts or data," "the testimony is the product of

 reliable principles and methods," and "the expert has reliably applied the principles and methods

 to the facts of the case." Fed. R. Evid. 702(b)-(d).

         There are three distinct requirements for proper expert testimony: (1) the expert must be

 qualified; (2) the opinion must be reliable; and (3) the expert's opinion must relate to the facts.

 See Elcock v. Kmart Corp., 233 F.3d 734, 741 (3d Cir. 2000).

 II.    Future Link's Motion for Summary Judgment (D.I. 520)

        Future Link seeks summary judgment on seven grounds, arguing that Intel failed to:

 ( 1) show that any FLS patents are standards-essential; (2) show that equitable estoppel applies;

 (3) support its numerous prior art theories by admissible evidence; (4) show that it is licensed to


                                                   3
Case 1:14-cv-00377-LPS Document 641 Filed 07/31/17 Page 5 of 30 PageID #: 41715




 any asserted patent; (5) show that any asserted patent is unenforceable; (6) show that the marking

 statute applies; and (7) join necessary third parties, Dell and HP. 2 (D.I. 520)

         A.         Standards-Essential Licensing

         Intel asserts that standards-essential reasonable and non-discriminatory ("RAND")

 licensing requirements attach to U.S. Patent Nos. 5,608,357; 7,917,680; 7,983,888; and

 5,870,570. In its motion for summary judgment, Future Link argues that Intel failed to meet its

 burden of demonstrating that RAND licensing requirements attach to these patents, as Intel failed

 to show that (1) each patent contains at least one "Necessary Claim" and (2) there were no

 commercially reasonable non-infringing alternatives. (D.I. 521 at 3-4) In particular, Future Link

 contends that Intel's expert, Dr. Ray Perryman, wrongly classifies claims as "Necessary Claims"

 when "any element of the claim - not the claim as a whole - is necessarily embodied by products

 that implement a PCI-SIG [(PCI Special Interest Group)] standard." (Id. at 4; see also D.I.

 53 7 .093   at~   78 ("If an implementation practices any part of a patent, even just a partial claim, a

 RAND commitment is necessary.")) Future Link adds that Intel's other experts erroneously base

 their analyses on Dr. Perryman's misinterpretation, but none of the experts, including Dr.

 Perryman, showed that the infringement could not have been avoided by another commercially

 reasonable non-infringing implementation. (D.I. 521 at 6-7)

 2
   Future Link also initially sought summary judgment on two other issues, arguing that:
 (1) Intel's declaratory judgment claims for non-infringement and invalidity of U.S. Patent Nos.
 6,636,166 and 6,920,576 should be dismissed because FLS covenanted not to sue on those
 patents; and (2) Intel failed to carry its burden to prove that a significant number of its prior art
 references anticipate or render obvious claims of the patents-in-suit. (D.I. 521 at 8, 15) In
 response, Intel has dismissed its claims regarding the '166 and '0576 patents and stated that it
 would not "assert the prior art references identified in ... FLS' s motion for the specific
 anticipation or obviousness grounds that FLS identifies ... for each corresponding patent claim
 at issue in th[ e] matter." (D .I. 555 at 10, 12) Therefore, both of these issues are now moot.

                                                       4
Case 1:14-cv-00377-LPS Document 641 Filed 07/31/17 Page 6 of 30 PageID #: 41716




        Intel responds that Dr. Perryman properly opined that "it is not a requirement for every

 single element of a patent claim to be infringed by every single implementation of a standard in

 order for that claim to be subject to the standard's RAND obligation." (D.I. 555 at 6) According

 to Dr. Perryman, "a claim may be a 'Necessary Claim' so long as that claim is necessarily

 infringed by 'an implementation of a Specification' and one or more elements of the claim are

 within the 'Scope' as described by the Bylaws." (D.I. 556, Ex. 4 at~ 77) Additional claim

 elements that "merely add basic, well-known items or that otherwise describe compliant

 implementations of a Specification" need not be met by each implementation in order for a claim

 to be a "Necessary Claim." (Id.   at~   82) Because Dr. Perryman's opinion is supported by

 substantial evidence, Intel asserts that summary judgment would be improper. (D.I. 555 at 6)

 Intel also argues that experts are permitted to rely on the expertise of other qualified experts, and

 that each of those who relied on Dr. Perryman's interpretation also provided detailed technical

 analyses concerning why the asserted claims are RAND obligated. (Id. at 9) Lastly, Intel adds

 that its experts investigated non-infringing alternatives and concluded that no such commercially

 reasonably non-infringing implementation existed at the relevant time period. (Id.)

        The PCI-SIG Bylaws define a "Necessary Claim" as a claim that is "necessarily infringed

 by an implementation of a Specification ... and which [is] within the bounds of the Scope,

 where such infringement could not have been avoided by another commercially reasonable

 noninfringing implementation of such Specification." (D.I. 556, Ex.3 at PCI-SIG000309) The

 Bylaws define "Scope" as "the protocols, electrical signaling characteristics, mechanical

 requirements for connectors, cards and cabling, register models, data structures and verbs

 software interface solely to the extent disclosed with particularity in a Specification ... [but that]


                                                    5
Case 1:14-cv-00377-LPS Document 641 Filed 07/31/17 Page 7 of 30 PageID #: 41717




 the Scope shall not include ... any enabling technologies that may be necessary to make or use

 any product or portion thereof that complies with a Specification, but are not themselves

 expressly set forth in a Specification .... " (Id. at PCI-SIG000310) (emphasis added)

         The Court agrees with Future Link that Intel's interpretation of "Necessary Claim" - as

 including claims even when only some elements are infringed (even when non-infringed

 elements are merely enabling technologies)- improperly expands the Scope of a "Necessary

 Claim" beyond the definition provided for by the Bylaws. The Bylaws explicitly exclude from

 the definition of "Scope" - and therefore from the definition of "Necessary Claim" - any

 "enabling technologies," whether claimed alone or in combination with explicit steps of the

 standard. 3

         While the Court agrees with Intel that technical experts are permitted to rely on the

 reasonable analyses of another expert, Dr. Perryman's analysis on these points was not

 reasonable, given its reliance on an incorrect interpretation of "Necessary Claim." Lastly, the

 Court agrees with Future Link that Intel's technical experts failed to consider whether non-

 infringing implementations existed. Intel's only cited support is the entirety of each experts'

 report on the issue of "Necessary Claims," and the only portions of those reports that discuss

 non-infringing alternatives are conclusory. (See D.l. 592, Ex. 8 at 'il'il 3154, 3158, Ex. 7 at 1437,

 Ex. 6 at 'il'il 1062-86)



 3
  This case is different from In re Innovatio IP Ventures, LLC Pat. Litig., 956 F. Supp.2d 925,
 937 (N.D. Ill. 2013), in which the Northern District of Illinois came to the opposite conclusion,
 because the bylaws there excluded from the definition of an "Essential Patent Claim" - the
 equivalent of a "Necessary Claim" here - claims that were "essential only for Enabling
 Technology." The bylaws in that case, therefore, left open the classification of claims directed to
 both enabling technology and explicit steps of the standard.

                                                   6
Case 1:14-cv-00377-LPS Document 641 Filed 07/31/17 Page 8 of 30 PageID #: 41718




        The Court will, therefore, grant Future Link's motion for summary judgment that RAND

 licensing requirements do not attach to the asserted claims of the '357, '680, '888, and '570

 patents.

        B.         Equitable Estoppel4

        In order to establish equitable estoppel, an alleged infringer must show by a

 preponderance of the evidence that: (1) the patentee, through misleading words, conduct, or

 silence, led the alleged infringer to reasonably infer that the patentee did not intend to enforce its

 patent rights; (2) the alleged infringer relied on the patentee's conduct; and (3) due to its reliance,

 the alleged infringer will be materially prejudiced if the patentee is allowed to proceed with its

 claim. See A.C. Aukerman Co. v. R.L. Chaides Const. Co., 960 F.2d 1020, 1041, 1046 (Fed. Cir.

 1992) (en bane).

            Future Link argues that Intel cannot meet its burden because Intel and Future Link had no

 contact prior to Intel filing suit. (D.I. 521 at 14) Even iflntel relied on Future Link's silence, in

 FLS 's view, estoppel cannot apply because Future Link never threatened Intel with enforcement

 prior to Intel filing suit, and plainly cannot have delayed unreasonably in bringing suit after

 threatening to do so. In addition, Future Link contends that Intel's communications with prior

 owners of the patents, which Intel relies on to make Future Link's silence relevant, did not

 include the asserted patents and, in fact, took place years before any of the Future Link patents

 existed. (D.I. 590 at 4) Finally, Future Link asserts that Intel's claim that it was unaware of the



 4
  In addition to seeking summary judgment on Intel's equitable estoppel defense, Future Link
 also moved for summary judgment on Intel's laches defense. In light of the Supreme Court's
 decision in SCA Hygiene Prods. Aktiebolag v. First Quality Baby Prods., 137 S. Ct. 954 (2017),
 Intel has withdrawn its laches defense. (D.I. 555 at 10 n.6)

                                                    7
Case 1:14-cv-00377-LPS Document 641 Filed 07/31/17 Page 9 of 30 PageID #: 41719




 asserted patents - and that it first learned of them within a year of filing its declaratory judgment

 action - precludes it from arguing that it relied on any alleged silence by Future Link or the

 previous patent owners. (Id.)

        Intel responds that its estoppel defense is not limited to Future Link's interactions with

 Intel, but is instead based on the conduct of the prior owners of the patents, Philips Electronics

 N.V. and the North American Philips Corporation (collectively, "Philips") as well as NXP

 Semiconductors ("NXP"). (D.I. 555 at 10) Intel asserts that: (1) in 1990, Intel entered into a

 cross license with Philips, that is valid and not terminated; and (2) in 2007, Intel entered into

 license negotiations with NXP, but no license was ever consummated. (Id. at 11) Despite these

 interactions, neither Philips nor NXP ever accused Intel of infringement, even though Intel was a

 competitor in the semiconductor industry. (Id. at 11-12) Thus, Intel asserts that factual issues

 surrounding these interactions preclude summary judgment on its equitable estoppel defense.

         The Court agrees with Future Link. Factual disputes surrounding Intel's communications

 with Philips and NXP are not material given Intel's admission that it was not aware of the Future

 Link patents until (1) Intel's customers told it about Future Link's assertion letters (for the

 patents asserted in Intel's declaratory judgment action), or (2) Future Link filed its counterclaims

 on July 10, 2015 (for the patents asserted in the counterclaims). These admissions mean the only

 reasonable conclusion on this record is that Intel could not have been misled about Future Link's

 - or the prior patent owners' - intentions with respect to enforcement of these patents. (See D.I.

 590 at 4-5; see also Philips Elec. N Am. Corp. v. Contee Corp., 312 F. Supp. 2d 639, 642 (D.

 Del. 2004)

         Accordingly, the Court will grant Future Link's motion for summary judgment.


                                                   8
Case 1:14-cv-00377-LPS Document 641 Filed 07/31/17 Page 10 of 30 PageID #: 41720




        C.      Prior Art

        Future Link asserts that many oflntel's prior art theories are not supported by admissible

 evidence, but are instead based only on unreliable expert testimony. (D.I. 521 at 19) Intel

 argues, and the Court agrees, that this argument is essentially a cross-reference to Future Link's

 concurrently-filed Daubert motion. (D.I. 555 at 13) As discussed below, the Court will deny

 Future Link's motion to exclude Dr. Levy's expert testimony. Therefore, the Court will also

 deny this portion ofFLS's summary judgment motion.

        D.      Licensing

        As a defense to Future Link's claims of infringement, Intel asserted: (1) a claim for a

 declaration that it is licensed to the '357, '570, '823, '738, and '108 patents; (2) a claim for a

 declaration of patent exhaustion based on that license; and (3) affirmative defenses based on the

 same license and patent exhaustion contentions. (D.I. 521 at 23; D.I. 363 at 26) On summary

 judgment, Future Link seeks judgment with respect to each of these contentions based on:

 (1) Intel's experts' failure to appropriately analyze and support the commercialization

 requirement of the Philips-Intel license, "[d]espite the Court's explicit guidance" that Intel must

 do so (D.I. 521at19-21; D.I. 442); (2) the fact that Intel's license assertions are inconsistent with

 its non-infringement positions as, on the one hand, Intel asserts that none of its products infringe

 any claims of any patents-in-suit, but on the other hand claims that all of its products practice or

 embody claims of the patents-in-suit as part of its license claims and defenses 5 (D.I. 521at23);


 5
   While the Court previously denied this argument in Intel's earlier summary judgment motion,
 noting that infringement and non-infringement contentions could still change, Future Link asserts
 that it is now appropriate to resolve this issue because fact and expert discovery have closed and
 the parties have exchanged their final infringement and non-infringement contentions. (D.I. 521
 at 23)

                                                   9
Case 1:14-cv-00377-LPS Document 641 Filed 07/31/17 Page 11 of 30 PageID #: 41721




  (3) Intel's experts' failure to show that any Philips products met other commercialization

  requirements, such as being "Digital MOS Integrated Circuits" or "offered for sale ... freely ...

 to any and all interested third parties" (Id. at 24-25); and (4) Intel's experts failure to analyze

  commercialization under their own interpretations of the claims, instead basing their analyses on

  Future Link's interpretation (Id. at 25).

         Intel responds that summary judgment on these grounds is improper because its experts

  have provided detailed evidence through hundreds of pages of claim charts, circuit diagrams, and

  supporting evidence, from which a factfinder could reasonably find both ( 1) satisfaction of the

  commercialization requirement and (2) that the Philips commercialized products are Digital

  MOS Integrated Circuits that were freely offered for sale. (D.I. 555 at 13-15, 18-19) Further,

  Intel contends that it is permitted to press alternative arguments - like Intel's denial of

  infringement, but alternative contention that if Future Link's assertions of infringement are

  correct then Intel's products are licensed. (Id. at 20)

          The Court agrees with Intel. Consistent with the Court's guidance, Intel supplemented its

  expert reports with claim charts comparing the licensed patents to the commercialized Philips

  products. Future Link's challenges to these claim charts - namely that they are insufficient,

  repetitive, and not meaningful - go to the factual underpinnings of Intel's experts' reports and,

  hence, present fact disputes. Similarly, Intel has adduced sufficient evidence (including expert

  reports) from which a reasonable jury could (but need not) find that the Philips products are

  Digital MOS Integrated Circuits that were freely offered for sale. Finally, Future Link's concerns

  that Intel's infringement position is inconsistent with its licensing defense, and further, that

  Intel's experts only analyzed commercialization under Future Link's interpretation of the claims,


                                                    10
Case 1:14-cv-00377-LPS Document 641 Filed 07/31/17 Page 12 of 30 PageID #: 41722




 do not entitle it to summary judgment. As the Court previously noted (see D.I. 442 at 33), such

 alterative arguments, and arguments analyzed under an opposing party's interpretation of the

 claims, are permissible.

        The Court will, therefore, deny Future Link's motion for summary judgment.

        E       Unenforceability

        Future Link seeks summary judgment on Intel's Third and Seventh Affirmative Defenses

 to the extent they depend on the unenforceability of the Future Link patents. 6 (D.I. 521 at 26)

 Future Link largely equates unenforceability with inequitable conduct and asserts that its motion

 should be granted because Intel has not offered any evidence of inequitable conduct. (Id.) Intel

 responds that it did not assert any inequitable conduct defense and, thus, the motion should be

 denied as moot. (D.I. 555 at 20-21) In its reply, Future Link emphasizes that it seeks summary

 judgment of no unenforceability on any basis - not just inequitable conduct - and points out that

 in opposition to the motion, Intel failed to articulate any theory of unenforceability or support any

 such theory with evidence. (D .I. 590 at 11)

        It is true that Intel did not assert an inequitable conduct defense. It is also true that Future

 Link's motion is not limited to inequitable conduct, and that Intel has failed to present evidence

 to support any defense of unenforceability. In its briefing, Intel cites only to (a) its own

 interrogatory responses, which fail to address unenforceability but, instead, discuss prosecution

 history estoppel and licensing, (b) six pages of a rebuttal expert report that, again, only discusses



 6
  Intel's Third Affirmative Defense alleges that "Intel has not infringed and does not infringe any
 valid and enforceable claim of the Counterclaim Patents." (D.I. 363 at 25) Intel's Seventh
 Affirmative Defense alleges that "[s]ome or all of Future Link's claims are barred by one or more
 of the doctrines of waiver, acquiescence, laches, estoppel ... , and unenforceability." (Id. at 26)

                                                   11
Case 1:14-cv-00377-LPS Document 641 Filed 07/31/17 Page 13 of 30 PageID #: 41723




  issues related to licensing, and (c) one page of an opening expert report discussing PCI-SIG

  bylaws and licensing. Intel does nothing to explain how a reasonable factfinder could find FLS' s

  patents to be unenforceable based on these materials.

         Therefore, the Court will grant Future Link's motion to the extent the Third and Seventh

  Affirmative defenses depend on the unenforceability ofFLS patents.

         F.      Marking

         Future Link argues that Intel cannot meet its burden under 35 U.S.C. § 287 for three

  reasons: (1) regarding the '439, '823, and '867 Patents, Future Link contends that it has asserted

  only method claims, so§ 287 does not apply; (2) regarding the '754, '6576, '302, '257, '680,

  '888, and '614 Patents, Intel has failed to identify the existence of any patent-practice articles,

  nor has it offered any evidence that any products actually practice these patents; and (3) regarding

  the '108, '357, '570, and '804 Patents, Intel has "claimed, but failed to establish that Future

  Link's predecessors-in-interest marketed products practicing the ... [p]atents." (D.I. 521 at 26-

  28) Intel responds that the burden under the marking statute lies with Future Link, as the patent

  owner, to show that no patented products were sold or that, if they were, that Future Link

  complied with§ 287. (D.I. 555 at 21-22)

         The Court agrees with Future Link that the burden lies first with the alleged infringer to

  identify products the patentee sold that practice the alleged patents. See MobileMedia Ideas,

  LLC v. Apple Inc., 209 F. Supp. 3d 756, 763 (D. Del. 2016). However, a genuine dispute of

  material fact exists with respect to this issue. That is, a reasonable jury could find that Intel has

  identified products sold by FLS or its predecessor owners of the patents-in-suit listed in (2) and

  (3) in the preceding paragraph. Hence, the Court will deny Future Link's motion for summary


                                                    12
Case 1:14-cv-00377-LPS Document 641 Filed 07/31/17 Page 14 of 30 PageID #: 41724




 judgment with respect to marking and the 11 patents listed in the preceding subsections of the

  preceding paragraph. The Court agrees with FLS that the marking requirement does not apply to

  the asserted method claims of the '439, '823, and '867 patents, and will grant FLS's motion with

  respect to these patents.

          G.      Joinder

         Future Link seeks to dismiss Intel's claims for declaratory judgment because Intel did not

  join necessary and indispensable parties: Intel customers, HP and Dell, who are the accused

  direct infringers. (D.I. 521 at 29) Future Link argues that adjudication must be limited to Intel's

  liability for indirect infringement and not extend to HP's and Dell's liability for direct

  infringement. (Id.)

          Intel responds that this is "at least the second time that FLS has raised essentially the

  same issue," and cites the Court's previous order denying Future Link's motion to dismiss the

  declaratory judgment claims for non-infringement on behalf of HP and Dell, where the Court

  found that subject-matter jurisdiction existed "over Intel's requests for customer non-

  infringement declarations with respect to Dell and HP products." (D.I. 555 at 24) (citing D.I. 274

  at 34) The Court held that Intel is obligated to indemnify HP and Dell for their use oflntel

  products and Intel stands in the shoes of HP and Dell and represents their interests in the action.

  (Id.) (citing D.I. 274 at 24-25)

         In its reply, Future Link asserts that the Court's determination of subject matter

 jurisdiction does not address whether HP and Dell are necessary and indispensable parties for a

  final judgment regarding their direct liability for patent infringement concerning their own




                                                    13
Case 1:14-cv-00377-LPS Document 641 Filed 07/31/17 Page 15 of 30 PageID #: 41725




 products. 7 (D.I. 590 at 14) Future Link argues that "[m]erely standing in the shoes of another

 party ... fails to prevent that party from being necessary and indispensable." (Id. at 15) (internal

 quotation marks omitted)

         The Court will deny FLS 's motion. Even assuming that the Court's finding of subject

 matter jurisdiction does not completely foreclose Future Link's argument, to obtain the relief

 FLS seeks would require it to show at least, with respect to HP and Dell, that "(1) in that

 person's absence, the court cannot accord complete relief among existing parties; or (2) that

 person claims an interest relating to the subject of the action and is so situated that disposing of

 the action in the person's absence may: (i) as a practical matter impair or impede the person's

 ability to protect the interest; or (ii) leave an existing party subject to a substantial risk of

 incurring double, multiple, or otherwise inconsistent obligations because of the interest." Fed. R.

 Civ. P. 19(a). There is no basis to conclude that the Court cannot accord complete relief between

 FLS and Intel without HP and Dell; nor do either HP or Dell claim any interest relating to the

 subject of this action. Simply put, HP and Dell are not necessary parties.

 III.    Intel's Motion for Summary Judgment Relating to Indefiniteness and Non-
         Infringement (D.I. 522)

         A.      Indefiniteness

         Intel seeks summary judgment that FLS 's '302 patent is invalid due to indefiniteness.

 The '302 patent discloses "a method suitable for testing an integrated circuit device," wherein the

 device comprises "at least one module" that "incorporates at least one associated module monitor



 7
   Intel's declaratory judgment action seeks a determination that Dell and HP do not directly
 infringe the Future Link patents through either use oflntel products or use or inclusion of Intel
 products in Dell/HP end-devices.

                                                    14
Case 1:14-cv-00377-LPS Document 641 Filed 07/31/17 Page 16 of 30 PageID #: 41726




  suitable for monitoring a device parameter such as temperature, supply noise, cross-talk etc.

  within the module." '302 Patent, Abstract. The Court construed '"functional block' I

  'module(s)'" as "a combination of components that perform a given function." (D.I. 378 at 21)

         Intel argues that the asserted claims of the '302 patent are indefinite, reasoning that since

  a "functional block" can be any combination of components that perform a given function, a

  person of ordinary skill in the art has no way of determining whether a particular "functional

  block" includes a decoder or monitor, as required by the claims, and thus infringes. (D.I. 523 at

  9) As applied to Intel's products, Intel contends that for the Sandy Bridge processor, the alleged

  decoder is located inside the PMA unit, separate from the core containing the alleged monitors.

  (Id. at 10) Thus, Intel asserts, if the "functional block" is considered as the entire "slice"

  containing both the core and the PMA unit, it might infringe; however, if the "functional block"

  is considered only as the "core," the decoder is separate from it, and the product does not

  infringe. (Id. at 10-11) Because infringement depends on how the "functional block" is defined,

  and because no such guidance exists to define that functional block, Intel concludes that the

  claims are invalid as indefinite. (Id. at 12)

         Future Link responds that courts '"have never required that a claim read on the entirety of

  an accused device in order to infringe. If a claim reads merely on a part of an accused device,

  that is enough for infringement."' (D.I. 553 at 2) (emphasis omitted; quoting SunTiger, Inc. v.

  Sci. Research Funding Grp., 189 F.3d 1327, 1336 (Fed. Cir. 1999)) Furthermore, the asserted

  claims use open transitional phrases and, therefore, to Future Link, "infringement cannot be

  avoided by adding non-infringing structures to an accused device." (Id. at 2-3) Future Link

  argues that the claims inform a person of ordinary skill in the art as to the scope of the invention


                                                    15
Case 1:14-cv-00377-LPS Document 641 Filed 07/31/17 Page 17 of 30 PageID #: 41727




 with reasonable certainty. (Id. at 5) Alternatively, at a minimum, Future Link insists that the

 competing experts' views on what one skilled in the art would have understood about the scope

 of the invention means that a genuine dispute of material fact exists, making summary judgment

 inappropriate. (Id.)

        The Court agrees with Future Link. A reasonable factfinder could find, particularly by

 crediting Future Link's expert's opinion, that the asserted claims inform a person of ordinary

 skill in the art as to the scope of the claims with reasonable certainty. See Nautilus, Inc. v. Biosig

 Instruments, Inc., 134 S. Ct. 2120, 2129 (2014). That Intel can point to the presence of

 "functional blocks" without decoders and/or monitors in its products does not negate the

 presence of "functional blocks" with decoders and/or monitors in its products. A reasonable

 factfinder, taking the record evidence in the light most favorable to FLS, would not be compelled

 to find clear and convincing evidence of indefiniteness.

        The Court will deny Intel's motion for summary judgment.

        B.      Non-infringement

                1.      U.S. Patent No. 5,754,867 ("the '867 patent")

        The asserted claims of the '867 patent are means-plus-function claims that the Court

 construed as having a function of "selecting an external to internal clock :frequency ratio," with a

 corresponding structure of "a signal sent to a RESET pin, a RESET pin, a signal sent to a BUS

 FREQUENCY pin, and a BUS FREQUENCY pin." (D.I. 378 at 8) The parties dispute whether

 the required RESET signal must necessarily correspond to the RESET signal of the only

 embodiment of the claims, the INTEL PENTIUM 815/100.

        In seeking summary judgment of non-infringement, Intel argues that the RESET signal


                                                  16
Case 1:14-cv-00377-LPS Document 641 Filed 07/31/17 Page 18 of 30 PageID #: 41728




 required by the Court must be the same as the RESET signal found in the disclosed embodiment.

 (D.I. 523 at 15) Therefore, the RESET signal must perform an actual reset of the CPU - i.e., it

 must invalidate the CPU's internal caches or otherwise initialize the CPU. (Id. at 15-16) To

 Intel, any assertion that the RESET signal has a broader meaning than as used in the disclosed

 embodiment would be contrary to established legal principles. (Id. at 18) Because the accused

 products do not include the type of RESET signal disclosed in the sole CPU embodiment, in

 Intel's view it follows that they cannot infringe the claims of the '867 patent. (Id. at 16)

        Future Link responds that the Court's construction did not limit the RESET pin to the

 specific RESET pin of the disclosed CPU embodiment. (D.I. 553 at 8) Instead, the Court's

 construction merely requires "a signal sent to a RESET pin" and says nothing about the RESET

 signal of the disclosed CPU embodiment. (Id. at 9) Future Link points out that both Intel and its

 expert clearly cite the disclosed CPU embodiment as only an example, not the sole possible

 embodiment, of the particular type of CPU with the ability to perform the means claimed

 function. (Id. at 10)

        The Court agrees with Future Link. The Court's construction is not as limited as Intel

 asserts, as the construction references "a signal sent to a RESET pin," 8 without referring to the

 particular CPU embodiment disclosed in the patent. See Liebel-Flarsheim Co. v. Medrad, Inc.,

 358 F.3d 898, 906 (Fed. Cir. 2004) ("Even when the specification describes only a single

 embodiment, the claims of the patent will not be read restrictively unless the patentee has


 8
  To be precise, this is the construction the Court gave to the structure associated with what the
 parties agreed was a means-plus-function claim term, "means for selecting an external to internal
 clock frequency ratio." (D.I. 378 at 8-9) While Intel is correct that the term is, thus, limited to
 the construed structure (see D.I. 593 at 5-6), Intel is incorrect in asserting that the Court
 construed that structure as limited to just the RESET pin and signal in the 8151100 CPU.

                                                   17
Case 1:14-cv-00377-LPS Document 641 Filed 07/31/17 Page 19 of 30 PageID #: 41729




  demonstrated a clear intention to limit the claim scope using words or expressions of manifest

  exclusion or restriction."). The patent specification and prosecution history, as well as both

  parties' experts (see D.I. 553 at 10), support this finding that "RESET" is not so limited.

  Therefore, there is a genuine dispute of material fact as to whether Intel's accused products

  contain each element of the asserted claims, and the Court will deny Intel's motion for summary

  judgment.

                 2.      U.S. Patent No. 6,052,754 ("the '754 patent")

         The '754 patent is directed to a "centrally controlled interface scheme for promoting

  design reusable circuit blocks." '754 Patent, Abstract. The patented system "enables existing

  circuit blocks of a computer system to be connected in a wide variety of shared bus standards

  while their internal circuitry remains unchanged." Id. Future Link alleges that Intel's products

  implementing the IOSF standard - an interface and interconnection technology that standardizes

  the interface between circuit blocks and an interconnect "fabric" - infringe the asserted claims of

  this patent. (D.I. 523 at 5-6)

         Intel asserts that its products do not infringe the asserted claims because those claims

  require "external bus control circuits" to be "connected to a wide variety of shared bus

  standards," whereas the accused "external bus control circuits" in the Intel IOSF fabric "allow the

  IP agents to connect only to a single standard - IOSF ." (Id. at 20-21) Intel argues that FLS

  recognizes that the Intel product does not meet this standard, so FLS' s experts "raise a new

  infringement theory not found in FLS's infringement contentions:" that "the alleged 'external bus

  controls circuits' of the IOSF fabric allow IOSF-compliant IP agents to connect to a single




                                                   18
Case 1:14-cv-00377-LPS Document 641 Filed 07/31/17 Page 20 of 30 PageID #: 41730




 standard (IOSF) that may be arranged in different topologies. " 9 (Id. at 21) However, because

 "topology" and "standard" are not the same thing, and the ability to use multiple bus "topologies"

 does not imply the ability to use multiple bus "standards," Intel argues that its products do not

 infringe. (Id. at 22)

         Future Link counters that Intel's position wrongly relies on a rejected claim construction

 - that it is the "external bus control circuit" that enables circuit blocks to be connected to a wide

 variety of bus standards. (D.I. 553 at 15) However, Future Link points out, the Court stated that

 "it is the 'apparatus' as a whole that must implement the key advantage [of providing a system

 which enables circuit components of a computer system to be connected in a wide variety of

 shared bus schemes while remaining substantially unchanged] rather than the external bus

 control circuits by themselves." (Id.) (quoting D.I. 378 at 13) Therefore the Court construed

 "external bus control circuit" as "circuitry external to circuit blocks, wherein the circuitry is part

 of an apparatus ... that allows a plurality of circuit blocks to be connected to a wide variety of

 shared bus standards while the circuit blocks' internal circuitry remains unchanged." (Id.)

 (quoting D.I. 379 at 2)

         Future Link asserts that, applying the Court's claim construction, Intel's products infringe

 the asserted claims because Intel's IOSF technology "allows IOSF-compliant circuit blocks to be

 connected to a wide variety of shared bus standards." (D.I. 553 at 16) Future Link cites the



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   Intel asserts in a footnote that FLS's failure to address the Court's construction and its attempt
 to raise this new infringement theory not present in its infringement contentions is improper and
 "should be struck." (D.I. 523 at 22 n.2) Future Link responds that such a request to strike in a
 summary judgment brief does not comply with the Court's procedures and, furthermore, that
 Intel's characterization is unsupported and incorrect. (D.I. 553 at 18 n.15) The Court agrees and
 Intel's request to strike is denied.

                                                   19
Case 1:14-cv-00377-LPS Document 641 Filed 07/31/17 Page 21 of 30 PageID #: 41731




  analysis and findings of its expert, Dr. Mangione-Smith, in asserting that "an important feature of

  the IOSF primary fabric is that it does not depend on a specific fabric topology, and ... the

  ability to support multiple bus topologies is necessary and sufficient to supporting a wide variety

  of shared bus standards." (Id.)

         The Court agrees with Future Link. The Court's construction requires that the apparatus

  as a whole, not the external bus control circuits by themselves, must provide a system that

  enables circuit components to be connected in a wide variety of shared bus standards. Intel's

  contention that the external bus control circuits in its IOSF fabric can only connect to a single

  standard does not preclude a finding of infringement. On the material issue - whether the Intel

  products as a whole provide such a system - there is a genuine dispute of material fact, so

  summary judgment must be denied.

                 3.      U.S. Patent No. 6,317,804 ("the '804 patent")

         The '804 patent discloses "[a] circuit arrangement and method interface multiple

  functional blocks within an integrated circuit device via a concurrent serial interconnect capable

  of routing separate serial command, data and clock signals between functional blocks in the

  device."

         Intel asserts that its products cannot infringe the asserted claims because its IOSF

  sideband interface does not have separate data and command interconnects, but instead has only

  data lines that carry both commands and data. (D.1. 523 at 23) Specifically, Intel argues that the

  "opcodes" carried on the IOSF "are 'commands' within the context of the '804 Patent." (Id.)

  Intel points to testimony by multiple Intel engineers who all confirm that "data and commands

  travel over the same payload wires" on the IOSF, and concludes that "[b ]ecause the same


                                                   20
Case 1:14-cv-00377-LPS Document 641 Filed 07/31/17 Page 22 of 30 PageID #: 41732




 payload lines of the accused IOSF sideband interface carry both commands (e.g., opcodes) and

 data, Intel's products cannot infringe [the] asserted claims ... , which require that the command

 and data interconnects/lines be 'separate."' (Id. at 23-24)

        Future Link responds that opcodes are not commands and, even if they were, Intel's IOSF

 would still meet all of the limitations of the claims of the '804 patent. (D.I. 553 at 22-24) In

 contesting whether opcodes are equivalent to commands, Future Link points to the IOSF

 specification document, which, in defining an "opcode," states "[ e]very message type has its own

 distinct opcode. This opcode is used by endpoints to define the structure of the message

 packet." (Id. at 20) Future Link contends that, at minimum, a factual dispute exists as to

 whether an IOSF "opcode" is a command, and disputes the fairness of Intel's dissection ofFLS's

 expert-Dr. Mangione-Smith's - opinion. (Id. at 21) Next, Future Link insists that even if

 "opcodes" equate to "commands," the IOSF still infringes because the claims do not prohibit data

 and commands from being transmitted over the same interconnects. (Id. at 22) Furthermore,

 Future Link argues that claims 9 and 10 specifically recite which interconnect should be used to

 transmit commands, negating any suggestion that commands could only be transmitted via the

 command interconnect. 10 (Id. at 24)

        The Court agrees with Future Link that, drawing all reasonable inferences in its favor,

 genuine disputes of material fact exist as to whether (1) "opcodes" are "commands" within the

 context of the patent and (2) if so, whether the patent requires data and commands to be

 transmitted only on separate interconnects, or whether it allows them to be transmitted over the

 same interconnect. The Court will, therefore, deny summary judgment.

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  °Claim 10 is not asserted.
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Case 1:14-cv-00377-LPS Document 641 Filed 07/31/17 Page 23 of 30 PageID #: 41733




                 4.      U.S. Patent No. 5,870,570 ("the '570 patent")

         The '570 patent is directed to "[a] multiple peripheral component interconnect (PCI)

  agent integrated circuit device for connecting to an external PCI bus." '570 Patent, Abstract.

  The only asserted claim, claim 17, contains the term "identification device select decoder," which

  the Court construed as "a PCI-compliant decoder that identifies the target of a configuration

  access." (D.I. 378 at 20) The Court further found the claims of the '570 patent are "limited to

  PCI-compliant embodiments." (Id.)

         Intel asserts that products containing the IOSF technology cannot infringe the asserted

  claim because the IOSF technology "has nothing to do with PCI" and does not comply with it.

  (D.I. 523 at 26) Unlike PCI-complaint products, the IOSF technology does not undergo PCI-

  compliance testing or certification. (Id.) Intel also argues that its products do not practice the

  "identification device select decoder" as required by claim 17. (Id. at 28)

         Future Link counters that the IOSF is PCI-compliant, as is evident from the facts that

  (1) Intel's own engineers refer to it as such, (2) Intel's manuals label IOSF bus implementations

  as "PCI bus," and (3) Intel's specification acknowledges that many PCI features are the "key

  driving factor leading to the definition of the Intel-proprietary IOSF architecture." (D.I. 553 at

  25-26) Future Link also explains how Dr. Mangione-Smith conducted an element-by-element

  analysis of claim 17 in his doctrine of equivalents analysis. (Id. at 27)

         The Court finds that a material factual dispute exists as to whether the IOSF technology is

  PCI-compliant. The Court does not agree with Intel that Future Link's arguments are only

  supported by conclusory opinions. Rather, they are supported by evidence (cited in FLS's

  briefing) from which a reasonable factfinder could find for FLS. The Court will, therefore, deny


                                                   22
Case 1:14-cv-00377-LPS Document 641 Filed 07/31/17 Page 24 of 30 PageID #: 41734




 Intel's motion for summary judgment.

 IV.    Future Link's Motion to Preclude Expert Testimony (D.I. 526)

        A.      Dr. Perryman

        Future Link argues that Intel expert, economist Dr. Perryman, does not understand the

 difference between a claim and a claim element, and therefore his opinions related to the

 meaning of "Necessary Claim" should be excluded for lack of qualification. (D.I. 528 at 24)

 Future Link seeks also to exclude the opinions of other Intel experts - Drs. Colwell, Eisenstadt,

 and Levy- who relied on Dr. Perryman's interpretation of "Necessary Claim." (Id. at 25)

        Intel responds that Future Link's objections go to the content of Dr. Perryman's opinion

 rather than his expertise to provide the opinion. (D.I. 558 at 25) Intel shows that Dr. Perryman,

 "an expert on RAND- and other standards-related issues," has substantial experience testifying

 on standard setting organizations ("SSOs") issues and their impact on patent licensing markets,

 has been involved in several matters related to the offering of licenses on RAND terms in

 multiple industries, and has authored and presented academic papers at conferences co-sponsored

 by SSOs. (Id. at 24) The lone question-and-answer deposition testimony that Future Link cites

 in asserting that Dr. Perryman is unqualified, Intel argues, was taken out of context and also

 unclear. (Id. at 23, 25)

        The Court agrees with Intel that the one instance of deposition testimony that Future Link

 points to is insufficient to prove that Dr. Perryman is not qualified to offer the opinions he seeks

 to present. This isolated incident does not show that he fails to understand the difference

 between a claim and a claim element. To the extent FLS's motion is based on Dr. Perryman's

 purported lack of qualification, it will be denied.


                                                   23
Case 1:14-cv-00377-LPS Document 641 Filed 07/31/17 Page 25 of 30 PageID #: 41735




        However, because the Court has found (as described above in Section II.A) that Dr.

 Perryman's and Intel's interpretation of "Necessary Claim" improperly expands the scope of such

 "Necessary Claims," Dr. Perryman's opinion on such matters, and the other Intel experts'

 reliance on them, will be excluded. These opinions are based on an interpretation of the Bylaws'

 reference to "Necessary Claim" which the Court has rejected. Hence, to the extent necessary to

 exclude the opinions based on Dr. Perryman's erroneous interpretation of "Necessary Claim," the

 Court will grant FLS 's motion.

        B.      Dr. Levy

        Future Link seeks to exclude the opinions oflntel's expert Dr. Levy regarding his

 anticipation and obviousness analyses in connection with the '754 and '680 patents, based on Dr.

 Levy's failure to apply the Court's claim construction. (D.I. 528 at 26) With respect to the '754

 patent, Future Link asserts that Dr. Levy failed to apply the term "external bus control circuits" as

 construed by the Court. (Id.) Dr. Levy fails to discuss how any aspect of two asserted

 anticipation references, Chambers '570 and Istkin '865, discloses any aspect of "a wide variety of

 shared bus standards," as required by the Court's construction of "external bus control circuits."

 (Id. at 27) With respect to the '680 patent, Future Link asserts that Dr. Levy failed to apply the

 Court's constructions of two pairs of terms that Intel initially requested the Court construe, terms

 that Intel now applies in "precisely the way that Intel argued to the Court the terms should not be

 applied." (Id. at 29)

        Intel responds that Dr. Levy consistently acknowledged and applied the Court's claim

 constructions regarding both patents. (D.I. 558 at 27) Future Link's disagreement with Dr. Levy,

 according to Intel, actually relates to Dr. Levy's alternative invalidity analysis, which Dr. Levy


                                                  24
Case 1:14-cv-00377-LPS Document 641 Filed 07/31/17 Page 26 of 30 PageID #: 41736




  properly offered under the assumption (which Intel disputes) that Future Link's infringement

  allegations are proven correct. (Id. at 29) Furthermore, Intel asserts, any inconsistencies in Dr.

  Levy's opinions are not grounds for exclusion, but rather, are more properly left to cross-

  examination. (Id. at 31)

          The Court agrees with Intel that Dr. Levy's analyses should not be stricken. Dr. Levy

  asserts that he applied the Court's claim construction and the Court is not persuaded that he

  failed to do so. Nor is Dr. Levy's decision to offer alternative opinions - including based on the

  assumption that Intel's infringement position is rejected- a basis for striking his opinions. The

  Court will deny FLS' s motion.

          C.       Invalidity Analyses

          Future Link contends that Intel's experts' opinions are based on constructions those

  experts consider to be incorrect and, on that basis, should be excluded. (D.1. 528 at 30) Because

  Intel's experts' base their conclusions of patent invalidity on interpretations of the patent claims

  that they "dispute or disclaim entirely," Future Link contends, their opinions should be excluded.

  (Id. at 32)

          Intel responds that Future Link's motion, which constitutes a "sweeping request

  span[ ning] four experts, dozens of invalidity references, and if granted, could vitiate Intel's

  invalidity defenses to every asserted patent," must be denied for two reasons. (D.1 558 at 31-32)

  First, FLS's motion fails to meet its burden to specify how any particular invalidity opinion

  merits exclusion. (Id. at 32-34) Second, Intel contends that its experts' analysis of Future Link's

  interpretation of the claims and claim language is permitted as an alternative theory of invalidity.

  (Id. at 34-37)


                                                    25
Case 1:14-cv-00377-LPS Document 641 Filed 07/31/17 Page 27 of 30 PageID #: 41737




        The Court agrees with Intel. Future Link's sweeping motion lacks merit. Future Link

 misconstrues the Federal Circuit's holding in Zenith Elecs. Corp. v. PD! Commc 'n Sys., Inc., 522

 F.3d 1348, 1363-64 (Fed. Cir. 2008), which does not preclude how Intel's experts have

 proceeded but instead holds that "anticipation cannot be proved by merely establishing that one

 'practices the prior art."' Intel's experts have not proceeded inconsistently with Zenith.

        The Court will, therefore, deny Future Link's motion.

        D.      Commercialization Analyses

        Similar to its motion to exclude Intel's experts' invalidity opinions, Future Link seeks to

 preclude Intel's experts from testifying about commercialization of the Philips patents based on

 claim constructions the experts consider incorrect. (D.I. 528 at 36) Future Link provides no

 further analysis and merely refers the court to its arguments to exclude the invalidity opinions

 above. (Id.) For the same reasons already given, this embodiment ofFLS's argument lacks merit

 as well. The Court will, therefore, deny Future Link's motion.

        E.      Unverified and Undisclosed Intel Employees

        Future Link asserts that two of Intel's experts rely on improperly-withheld facts and

 unverified information from undisclosed Intel employees and, therefore, such opinions should be

 excluded. 11 (D.I. 528 at 36) In particular, Future Link argues that: (1) Intel expert Randy Steck

 improperly relied on undisclosed expert opinions of Intel employee Diane Bryant, in opining on

 the time-saving benefits ofIOSF (id. at 38); and (2) Intel expert Dr. David August improperly

 relied on information received from Intel employee Sean Mirkes, in opining that a combination


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   The Court addressed Future Link's arguments regarding Dr. Leonard's reliance on undisclosed
 Intel employees (Robert Rainbolt, Terri Schmiesing, and Patricio De La Rocha) in its prior
 Memorandum Opinion. (D.I. 618 at 11)

                                                  26
Case 1:14-cv-00377-LPS Document 641 Filed 07/31/17 Page 28 of 30 PageID #: 41738




 of four 256-bit instructions and eight 128-bit instructions "prevented the Intel processors from

 changing the clocking state" (id. at 40).

        Intel responds that each of the identified experts relied on sufficient facts and data to

 support their conclusions. (D.I. 558 at 39) Mr. Steck cited Ms. Bryant three times in his report,

 each time citing a statement of fact (none of which is "a lynchpin of Mr. Steck's analysis"); Mr.

 Streck also has "substantial experience, analysis in this case, and ... independent bases for his

 conclusions." (Id. at 41-43) While Mr. Steck was unfamiliar with Ms. Bryant's knowledge of

 the Intel IOSF standard, he used to work with Ms. Bryant and knew that her division was

 responsible for server microprocessor development. (Id. at 43) With respect to Dr. August, Intel

 asserts that his opinions comply with Fed. R. of Ev. 702 and 703, as he only relied on Mr. Mirkes

 for facts "to confirm that the initial conditions in his tests accurately reflected the operation of

 Intel's processors." (Id. at 44)

         The Court previously held: "it can be inappropriate for an expert to rely on statements

 from individuals employed by a litigant who are not disclosed by the litigant, are not subject to

 deposition, and cannot be called as witnesses at trial." (D.I. 618 at 12) That is not what occurred

 here. Instead, Mr. Steck and Dr. August support their opinions independent of information

 derived from the Intel employees. Moreover, Future Link has identified both undisclosed

 employees and has sufficient time before trial to depose them, should Future Link wish to do so.

        The Court will, therefore, deny Future Link's niotion.




                                                   27
Case 1:14-cv-00377-LPS Document 641 Filed 07/31/17 Page 29 of 30 PageID #: 41739




 V.     Intel's Motion for Summary Judgment of No Willfulness and No Unclean Hands
        (D.I. 531)

        A.      Willfulness

        Intel seeks summary judgment that it has not willfully infringed any of the patents-in-suit.

 Intel characterizes FLS' s willfulness argument as based on allegations that "Intel's products are

 similar to the embodiments disclosed in the patents-in-suit," Intel "fostered a corporate

 atmosphere in which employees are encouraged to tum a blind eye to the rights of others," and

 "Intel had enormous motivation to infringe." (D.I. 534 at 2) In Intel's view, none of these

 contentions - even if true - support a finding of willfulness. Further, for the six patents asserted

 in FLS' s counterclaims but not asserted in Intel's declaratory judgment complaint, Intel contends

 that FLS has failed to prove that Intel had pre-suit knowledge of these patents; and for the nine

 patents in the declaratory judgment complaint, FLS has failed to provide evidence of copying or

 other improper conduct.

        Future Link responds that Intel's own engineers concede that they avoid reviewing other,

 non-Intel patents so as to avoid willfully infringing them. (D.I. 553 at 28) This type of willful

 blindness, Future Link asserts, is "antithetical to the type of responsible behavior encouraged by

 § 284, and itself is powerful evidence of willfulness." (Id.) Future Link points to its experts'

 depictions of Intel's implementation of the accused technology identically to the patented

 embodiments, the lack of evidence oflntel ever investigating if its products infringed, Intel's

 corporate atmosphere encouraging employees to "tum a blind eye" to patents, Intel's motivation

 to infringe, the lengthy period during which infringement has continued, Intel's failure to disable

 patented features when it could do so in its products, and Intel's litigation misconduct. (Id.; see



                                                  28
Case 1:14-cv-00377-LPS Document 641 Filed 07/31/17 Page 30 of 30 PageID #: 41740




 also D.I. 560, Ex. 2 at if 403)

         It may be difficult to see how a reasonable factfinder would view the panoply of conduct

 alleged by Future Link (if proven) to be "egregious ... wanton, bad-faith, deliberate, consciously

 wrongful, flagrant, or - indeed- characteristic of a pirate." Halo Elecs., Inc. v. Pulse Elecs.,

 Inc., 136 S. Ct. 1923, 1932 (2016). However, taking the evidence in the light most favorable to

 Future Link, the Court concludes that it cannot grant summary judgment of non-willfulness. The

 Court will deny Intel's motion.

         B.      Unclean Hands

         As with respect to willfulness, in relation to unclean hands Intel asserts that FLS' s

 conclusory allegations - applied verbatim to support both its willfulness and unclean hands

 defense - do not satisfy the requirement of "shocking the moral sensibilities" necessary to

 support an unclean hands defense. (D.I. 534 at 4) Future Link responds that Intel has "engaged

 in years of willful blindness," "pursued meritless positions," "withheld essential discovery"

 regarding infringement, and "repeatedly drove up litigation costs." (D.I. 553 at 29)

         The Court concludes that Future Link has not come forward with evidence sufficient to

 support a reasonable factfinder finding that Intel has acted with unclean hands. FLS points only

 to Intel's purported failure to substantiate its invalidity and infringement theories. The Court

 does not view the record as so devoid of evidence supporting Intel's position on these hotly-

 contested issues so as to "shock[] the moral sensibilities."

         The Court will, therefore, grant Intel's motion.

 VI.     Conclusion

         An appropriate Order follows.


                                                  29
